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 JOHN KARA THANOS,

                               Plaintiff,
                                                                   No. 19-CV-8023 (RA)
                         V.
                                                                           ORDER
 QUINCY BIOSCIENCE HOLDING
 COMPANY, INC. et al,

                               Defendants.


RONNIE ABRAMS, United States District Judge:

         This case has been reassigned to me for all purposes. No later than September 13, 2019,

the parties are to file a joint letter updating the Court as to the status of this case.

SO ORDERED.

Dated:      August 30, 2019
            New York, New York

                                                     Ro       brams
                                                     United States District Judge
